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ATTORNEY FOR: PLAINTIFF


        UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF TEXAS

TRIUMPHANT GOLD LIMITED                                                                              CASE NUMBER

                                                                                                     4:18CV-4770
                                              PLAINTIFF,
DARREN MATLOFF
                                                                                              PROOF OF SERVICE
                                              DEFENDANT.
At the time of service I was a citizen of the United States, over the age of eighteen, and not a party to this action; I served copies of the:
SUMMONS IN A CIVIL ACTION; COMPLAINT FOR RECOGNITION OF A JUDGMENT PURSUANT TO THE UNIFORM
FOREIGN-COUNTRY MONEY JUDGMENT RECOGNITION ACT; CIVIL COVER SHEET; MOTION AND ORDER FOR
ADMISSION PRO l!AC VICE; JOINT DISCOVERY/CASE MANAGEMENT PLAN UNDER RULE 26(F) FEDERAL RULES OF
CIVIL PROCEDURE; ORDER FOR EXAMINATION OF JUDGMENT DEBTOR; JUDGE VANESSA D. GILMORE'S
PROCEDURES

in the within action by personally delivering true copies thereof to the person served as follows:

   Served                 DARREN MATLOFF
   By Serving             "JANE DOE" (REFUSED TO STATE NAME- 30-35 YEAR OLD ASIAN FEMALE, 5'3", 120 POUNDS,
                          BROWN HAIR), CO-RESIDENT
   Address                75 VINE STREET, UNIT 805
                          SEATTLE, WA 98121
   Date of Service        JANUARY 14,2019
   Time of Service        5:01PM




      � COUNTY LEGAL
     ��          l" �(JTAt�r $l�t�,1 l('li


   County Legal & Notaiy Service
   111 North Market Street, Suite 116
   San Jose, CA 95113
   Telephone: (408) 564-7360                                            Person serving:    CLINTON TURPEN
   Registered in Santa Clara County
   Registered California Process Server No. 1410
   Registered Culifornia Professional Photocopier No. 071

   I declare under penalty of perjury under the laws of the United States of America that ��ormation is tr�e and correct.
                                                                                         �

    Date:     JANUARY 15,2019                                           Sig/4   /
                                                                          �/  7   CLINTON TURPEN
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